Case 3:07-cV-OO795-.]AP-T.]B Document 40 Filed 05/20/08 Page 1 of 13 Page|D: 600

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Attorney for Plaintift`
UNITED STATES DISTRICT COURT
DISTRICT OF NEW .]ERSEY
A.S.T., LLC,
Plaintil`“f
CIVIL ACTION NO. 07-795 (JAP)
v.
CARVIN PALLENBERG, HlNDING AMENDED COMPLAINT
TENNTS COURTS, LLC, ABC INCS l~
100, XYZ CORPS. 1-100, JOHN and Documents filed electronically
JANE DOES 1~100,
Defendants.

 

 

 

 

A.S.T., LLC (hereinafter referred to as “AST” or “Pla_intiff”) by Way of Complaint
against Defendants' Carvin Pallenberg, and Hinding Tennis Courts, LLC, (hereinafter
collectively referred to as “Det`endants”) states and alleges as follows:

BASIS OF TI-IIL` COURT’S JURISDICTION AND VENUE

Jurisdiction is appropriate under 28 U.S.C. § 1332 because there is complete diversity of
citizenship between the parties and the amount in controversy exceeds seventy-five thousand
dollars ($75,000.00).

Venue is proper pursuant to 28 U.S.C. § 1391 (b) because a substantial part of the acts or

omissions giving rise to the claims occurred in this district

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 2 of 13 Page|D: 601

PARTIES

l. Plaintiff AST is a New lersey Liinited Liability Cornpany With its principal place of
business at 5050 lndustrial Road, Farmingdale, New Jersey 07727. AST is engaged in
the sale of crack repair systems for tennis courts and is also engaged in the repair of
tennis courts

2. Defendant Carvin Pallenberg (hereinafter referred to as “Pallenberg”) is a Connecticut
resident Who, upon information and belief lives at 38 Nortontown Road, Madison,
Connecticut 06443.

3. Defendant Hinding Tennis Courts, LLC (hereinafter referred to as “I-linding Tennis”) is a
Limited Liability Company that upon information and belief has its principal place of
business located at 90 Wildrose Avenue, Guilford, Connecticnt 06437.

4. ABC lncs. (1-100) and XYC Corps. (1-100), lohn and lane Does (1-100), are currently
unknown and unidentified fictitious individuals and/or entities that may be liable for the
causes of action set forth herein.

5. Pallenberg signed a Non-Cornpetition and Coniidentiality Agreernent With AST, and is a
former employee of same, in the State of New Jersey, and therefore, has sufficient
contacts With the State of New lersey.

6. This is a civil action brought by AST against Defendant Pallenberg for relief associated
With Pallenberg's breach of his Non-Cornpetition and Coniidentiality Agreement With
AST and against Hinding Tennis associated With their tortious interference With AS'l"s
contract With Pallenberg and with their tortious interference With AST's prospective

economic advantage

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Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 3 of 13 Page|D: 602

FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

7. Defendant Pallenberg vvas employed by AST from approximately June ll, 2002 through
September 15, 2006. l

8. During his employment with AST, Pallenberg served as the sole sales person for AST.

9. On or about June 6, 2002, as a condition of Pallenberg's employment vvith AST, AST and
Pallenberg entered into an Non~Competition and Confidentiality Agreement (the
“Agreement"). A copy of the Agreement is attached hereto as Exhibit A.

10. In Paragraph one (l) of the Agreement, Pallenberg agreed to hold all confidential
information and trade secrets belonging to AST in confidence The Agreement further
states that Pallenberg agreed not to disclose or enable anyone else to disclose or use
confidential information

ll. ln Paragraph two (2) of the Agreernent, Pallenberg agreed to abide by this restriction With
regard to confidential information for the duration of his employment with AST and for a
period of five (5) years thereafter.

12. In Paragraph two (2) of the Agreernent, Pallenberg agreed that following his termination,
he vvould not compete With AST for a period of five (5) years.

13. in the Enforceability Paragraph of the Agreement, Pallenberg acknowledged and agreed
that AST Would be irreparably harmed and Would be entitled to injunctive relief against
him in the event of any breach or threatened breach of the Agreernent.

14. in Septernber 2006, AST informed Pallenberg that his perfomiance Was poor and that if
he didn’t improve his performance he needed to move on. On or about September 14,
2006, Pallenberg submitted a letter to AST stating that he resigned his position With AST

effective September 15, 2006. Concerned that Pallenberg’s schedule included an

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 4 of 13 Page|D: 603

upcoming west coast trip to train a contractor and attend a trade show, Daniel Clapp,
owner of AST, called Mr. Pallenberg and at that time he agreed to stay with the company
for two (2) more weelcs. It was imperative that AST proceed with the demonstration and
trade show as expected by their customers After Mr. Pallenberg agreed to stay with the
company, Mr. Clapp spoke with his foreman, Brian Douglas. Based on the conversation
with Mr. Douglas and his version of what Pallenberg said to him, Mr. Clapp became
concerned with continuing l\/lr. Pallenberg’s employment Accordingly, l\/.[r. Clapp called
l\/lr. Pallenberg and informed him that his services were no longer required. After Mr.
Clapp informed Mr. Pallenberg that he was terminated, Mr. Pallenberg sent a self-serving
letter on the same date indicating that AST intended to retain his services under a
“separate agreement”. AST never agreed to retain Mr. Pallenberg’s services under a
separate agreement

15. Riteway, LLC is a company engaged in selling products similar to AST and is a direct
competitor.

16. Upon information and belief, Riteway was formed in 2006 by Pallenberg and Thomas
Hinding.

l7. Prior to Riteway's formation, Defendant l-linding Tennis was aware of Pallenberg‘s
employment contract and the restrictions therein.

18. At the time Riteway was formed, all Defendants were aware that Pallenberg was a party
to a Non-Competition and Confidentiality Agreement with AST.

19. Despite this l<nowledge, Riteway was formed so that Pallenberg and Hinding Tennis
could solicit business from the AST customers with whom Pallenberg had material

contacts and end users of AST’s products The Defendants conspired to divert such

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 5 of 13 Page|D: 604

business away from AST and to Riteway and/or the other Defendants’ businesses, and in
doing sc, wrongfully utilized confidential information Pallenberg had gained through his
employment with AST to their benefit Upon further information and belief, Pallenberg
formed, or was involved in the formation of Riteway, prior to September 2006, the time
in which Pallenberg’s employment with AST terminated
20. Since leaving AST, Pallenberg has solicited the following AST customers, either
individually or on behalf of Riteway:
i. Hinding Sealcoating, located in Connecticut;
ii. Copeland Coating, located in New York;
iii. New England Sealcoating, located on New York;
iv. US Tennis Court Construction, located in lllinois and Arizona;
v. M&M Tennis Court Company, located in Connecticut;
vi. Ferrandell Tennis Couits, located in Califomia;
vii. Advantage Tennis, located in Vermont;
viii. Maine Tennis and Tract, located in Maine; and
ix. Riggs Recreation, located in Kansas.
2l. AST’s industry is an extremely small niche market The customer lists and relationships
with the contractors are extremely valuable to a company such as AST. lt took years for
AST to compile their comprehensive customer list Defendants are in a position to

destroy AST if they are permitted to continue competing in violation of the agreement

FlRST COUNT
Breach of Contract

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. Plaintiff repeats and realleges paragraphs as if fully set forth herein, and further alleges:

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. Based upon the actions described herein, Pallenberg breached the Agreement with AST,

including, but not limited to, Paragraphs l and 2 of the Agreement.

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 6 of 13 Page|D: 605

24. As a direct consequence of Pallenberg's breach of the Agreement, Plaintiff has suffered
and will continue to suffer irreparable damages for which Plaintiff possesses no adequate
remedy at law.

SECONI) COUNT
Breach of Dgtv of Good Faith and Fair Dealing

25. Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein, and
further alleges:

26. There is a duty of` good faith and fair dealing implied in all agreements in New lersey,
and as such, there was a duty of good faith and fair dealing implied in the Agrcement.

27. By Pallenberg's wrongful actions described herein, Pallenberg breached his implied duty
of good faith and fair dealing

28. As a result of Pallenberg's breach, Plaintiff has suffered and will continue to suffer
irreparable damages for which Plaintiff possesses no adequate remedy at law.

THIRD COUN'I`
Breach of Fiduciarv Dutv

29. Plaintiff repeats and realleges the preceding paragraphs l through 30 as if fully set forth
herein, and further alleges:

30.While serving as AST's Salesman, Pallenberg was a fiduciary of and maintained a
confidential relationship with AST.

31. Pallenberg owed AST certain fiduciary duties while still employed by AST, including,
but not limited to, the duty not to solicit AST customers on behalf of a competing
company and the duty not to misuse confidential information and trade secrets belonging

to AST.

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 7 of 13 Page|D: 606

32. Upon information and belief, Pallenberg breached his fiduciary duties while still
employed by AST by engaging in certain activities, including, but not limited toJ relaying
confidential information about AST to Defendants, soliciting AST customers on behalf of
Defendants, and copying and retaining proprietary confidential information and/or trade
secrets With the intent to give it to or use it on behalf of R_iteway and other Defendants.

33. As a direct consequence of Pallenberg's breach of his fiduciary duty, Plaintiff has
suffered and will continue to suffer irreparable damages for which Plaintiff possesses no
adequate remedy at law.

FOUR'I`H COUNT
Breach of Dutv of Lovaltv

34. Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein, and
further alleges:

35. While employed by AST, Pallenberg owed a duty of loyalty to the company.

36. Upon information and belief, Pallenberg breached his duty of loyalty to AST by engaging
in certain activities, including, but not limited to, relaying confidential information about
AST to Defendants, soliciting AST customers on behalf of Def`endants, and copying and
retaining proprietary confidential information and/or trade secrets with the intent to give
it to or use it on behalf of Riteway and other Defendants.

37. As a direct consequence of Pallenberg's breach of his duty of loyalty, Plaintiff has
suffered and will continue to suffer irreparable damages for which Plaintiff` possesses no

adequate remedy at law.

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 8 of 13 Page|D: 607

COUNT FIVE
In]`unctive Relief

38. Plaintiff` repeats and realleges the preceding paragraphs as if fully set forth herein, and
further alleges:

39. The balance of equities favors the issuance of injunctive relief, and an injunction would
not be adverse to the public interest

40. Plaintiff is entitled to the issuance of an injunction

COUNT SIX
Tortious Interference With Contract as against all Defeldants

41. Plaintiff repeats and realleges the preceding paragraphs as if` fully set forth herein, and
further alleges:

42. AST had a valid and enforceable agreement with Pallenberg, whereby Pallenberg was
restricted nom using AST's confidential information during and upon termination of his
employment and was restricted from competing with AST upon termination of his
employment

43. Defendants knew about the contract between AST and Pallenberg.

44. Despite such knowledge, Defendants specifically and knowingly induced Pallenberg into
breaching his contract with AST by, among others, inducing Pallenberg into soliciting
business from those AST customers that Pallenberg was prohibited from calling on
pursuant to his valid and binding contract with AST and utilizing and divulging
confidential information to gain unfair advantages over AST in the sale of its product to

customers and end users.

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 9 of 13 Page|D: 608

45. As a result of Defendants’ intentional and malicious interference, Pallenberg has
breached its obligations to AST pursuant to the parties' contract, and his obligation of
good faith and fair dealing

46. AST has suffered and will continue to suffer irreparable harm and significant damages as
a result of Defendants’ conduct

COUNT SEVEN
'I`ortious Interference With Prospective Economic Advantage as against all Defendants

47. Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein, and
further alleges:

48. AST had a prospective economic advantage by-way of its ongoing relationships with its
customers and the investment in cultivating and maintaining said relationships

49. Defendants have intentionally and maliciously interfered with AST's prospective
economic advantage through unlawful conduct

50. As a result of Defendants’ interference, AST has suffered, and continues to suffer,
irreparable harm and significant damages

WHEREFORE, Plaintiff` A.S.T., LLC demands judgment against Defendants:

a. enjoining Carvin Pallenberg h‘orn having any contact with customers of AST or
competing with AST, directly, or indirectly in the ownership, management of or
employment with any enterprise engaged in a business which competes with AST for five
(5) years from the date of judgment; and

a. enjoining Defendants from having any contact with customers of AST or competing with
AST in the same business of which AST is engaged for Hve (5) years from the date of

judgment; and

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 10 of 13 Page|D: 609

b. enjoining Defendants from utilizing _AST’s trade secrets and/or confidential and
proprietary information for five (5) years from the date of judgment;

c. requiring Defendants to delete and destroy any electronic or other copies of information
belonging to AST, including, but not limited to, files maintained on any computer, drive,
or email account;

d. awarding AST compensatory and punitive damages;

e. awarding AST prejudgment interest, costs and attorney fees; and

f. granting AST such other relief as the Court deems equitable and just

BY£ @R_j\

DAVID A. KR_ENKEL, ESQ.
Attorney for Plaintiff

Dated: May 20, 2008

10

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/20/08 Page 11 of 13 Page|D: 610

EXHIBIT

Case 3:07-cV-00795-.]AP-T.]B Document 40 Filed 05/2-0/08 Page 12 of 13 Page|D: 611

Non--Comnetitipl_rr and Confidentialitv-Agreement

This agreement is entered into as of the f f day of é 2002 between Da.oiel C. Clapp of`A. S ..,T LLC
and Carvin Pallenberg

Mr Pallenberg s primary responsibility with A_S- 'I` LLC will be to promote and sell the ARMOR Crack w
Repair S_})stem In this capacity, it is understood that Mr. Pallenberg may or may not technically he considered t
_ an “e"employe of the company However regardless of whether he' is a sub-contractor,. an outside salesman or

_ other; throughout this document his position will be described as “l§.mployee”. Daniel C_ Clapp and A_S- T
LLC will be referred to as “Company”_ - .

WI-IE`.REAS, out of respect_ for the _Ernployee s integrity and abilities the C_ompany 1s placing trust 111 the

Employee by placing him 111 a position where he may have access to or may be exposed to Confidential
I'nformation; and .

Wl-IEREAS the Company' s reputation and present and future competitive position is largely dependent upon
the confidentiality of such information and of` the non-competition of the employee;

NOW, THE`.REFORE, the Compa.ny and the Employee agrees as follows:

1. Confidential Informatticn_ Employee acknowledges that he has learned and will learn Com':identisl
lnformat_ion, as deined herein relating to the business conducted by the Company. Employee agrees that he
will not, except in the normal and proper course of h1s duties disclose or enable anyone else to disclose or use
either during the Emplcyrnent Term or subsequent thereto- fcr the applicable period of any non-compete
pursuant to Paragraph 2, any such Conhdential Information without prior written approval from the Company.

"Confidential lnformation" shall include, but not be limited to, the following types of' information, both existing
and contemplated and regarding the Company; corporate information including contractual licensing ,
arrangements plans strategies tactics, policies resolutions patent applications and any litigation or
negotiations; marketing information, including sales or product plans customers prospect lists market research
data; financial information, including costs and performance data1 investors and holdings; operational formulas
and background information; suppliers; technical information1 designs,,drawings and specifications; and
personnel information Confidential Informatiou` rs limited to that information which ls generally not known to
the public, is not` m the public domain, or available through reference to general library sources Confidential
' Information does not include general skills, knowledge and experience acquired by Employee before and/or
during employment with the Cornpany.

Employee agrees that all documents of` any nature pertaining to the business and assets of the Company
{e>rcluding personal possessions of`Employee) 111 his possession at any time during his employment including
without limitations memoranda? notebooks notes data sheets`, and records are and shall be the property of the
Company, and they and all copies of them shall he surrendered to the Company upon the Company s request

v from time to time during such employment and with or wrthout request upon termination of` such employmentl

y`E'Jmploye`e agrees that he will promptly disclose to the -Company all- inventions discoveries and improvements

1wht`ether patentable or not, made or conceived during the Employ_ment Ten_n,_ which are Within or in any way ~
` ' related to the existing or contemplated scope of the business of the Compar_r_y, all of which invention, discovery -'r
` or improvement shall be deemed _to have been made withih"th'e Employment Terr?n 1f1t is made or- conceivedj;'- l
within six months of the end of the Einployment Term and results from, dr was suggested by, fhe Employ'ee’ s
employment by the Compar`“iy-

-Page 1 of 2

Case 3:07-cV-OO795-.]AP-T.]B Document 40 Filed 05/20/08 Page 13 of 13 Page|D: 612

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2. Non Competition: Employee agrees that during his employment by the Cornpany he will not engage

directly or indirectly in any business of the same nature or similar nature to the business of the Ccmpany or any
business in which the Co1npany is engaged in developing nor will Employee participate directly or indirectly` 111
the ownership or management of any enterprise engaged' 111 such a business witlnn the United States ofAmen'ca '

In the event that the Employee 1s terminated for C_ause, Employee shallnot1 for a period ofiive (5} years engage
directly or indirectly in any business of the same nature or similar nature to the business of the Ccnipany or any _ '
business which the Company shall have engaged` 111 developing nor will Employee participate directly or
indirectly' 1n the management or ownership of any enterprise engaged 111 such a business within the United
States ofAsnerica. -

In the event that the Employee is terminated for any reason other than Cause or death or permanent disability,
E.m`ployee shall not1 for aperiod of five (5) years, engage directly or indirectly m any business of the same nor
will the Employee participate directly or indirectly 111 the management or ownership of any enterprise engaged
in such business wrthin the United States

3- Severability- In the event that1 notwithstanding the foregoing, any of the provisions ofParagraph 1 or 2 or
any other provisions of this Agreement shall be held to be invalid or unenforceable the remaining provisions ~
thereof shall nevertheless continue to be valid and enforceable as though the invalid or unenforceable parts had
not been included therein In the event that any provision of Paragraph 2 shall be declared by a court of
competent jurisdiction to exceed the maximum time period or restriction such court deems reasonable and
enforceable for the court shall become and thereaher be the maximum time period and/or restrictions, and
relevant provisions ofParagraph 2 shall be severed and so reformed

4. Sup`erseding Effect: This Agreement supersedes any prior agreements or understandings, oral or written,
with respect to employment and constitutes the entire agreement with respect thereto. lt cannot be changed or
terminated orally and may be modified only by subsequent written agreement executed by both parties hereto.

Eni`orceability: The Employee understands that the Company’s competitive position is highly dependent on the
Coniidential Information. The‘Employee further understands that Non-Competitiveness of current and future
employees is imperative to the Company. Any disclosure or breach of this Agreement will cause immediate
irreparable harm to the Company. Any breach or threatened breach oftbis Agreement, therefore may present
either a court or binding arbitrator injunction and damages In the event that the Company institutes litigation or
arbitration seeking the enforcement of tins Agreemen’g the Cornpany shall be entitled to recover reasonable
attorney fees and costs incurred in such litigation or arbitration; however, such attorney fees and costs shall not
be assessed in the event that is determined that litigation or arbitration has been pursued which is hivolous or
groundless or. in the event that the Empl`oyee consents prior to a preliminary hearing, to a permanent injunction
incorporating all terms of this Agreement .

CDWWWL PQ£%§/ ' .`Date:‘. C?é'_'//._'O_Z.

` ' Carviu Pallenber¢r ‘Employee”

 

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'.. Date:
Daniel C. Clapp, President A_S.T., LLC

